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(By Order of the Court pursuant to the Criminal Justice Act)

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA,

       -vs-                                 :       lOCr.851

STEPHEN DEPIRO,                             :       18 U.S.C. § 2, 371, 894(a),
     a/k/a “Beach,”                                 1084(a). 1951(a),
ALBERT CERNADAS,                            :       1955(a). 1962(d) and 1963
     a/k/a “The Bull,”
NUNZIO LAGRASSO,
RICHARD DEHMER,
     a/k/a “Dickie,”                                                    ORDER
EDWARD AULISI,
     a/k/a “Eddie,”
VINCENT AULISI,
     a/k/a “The Vet,”
THOMAS LEONARDIS,
     a/k/a “Tommy,”
ROBERT RUIZ.
     a/k/a “Bobby,”
MICHAEL TRUEBA,
     a/k/a “Mikey,”
RAMIRO QUINTANS,
     a/k/a “Romo,”
SALVATORE LAGRASSO,
ANTHONY ALFANO,
     a/k/a “Brooklyn,”
TONINO COLANTONIO,
     a/k/a “Tony,”
JOHN HARTMANN,
     a/k/a “Lumpy,” “Fatty”
     and “Fats,” and
GJUSEPPE PUGLIESE,
     a/k/a “Pepe”,

      Defendants,
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          THIS MATTER having been brought before the Court by Peter W. Till, Esq., Law

Offices of Peter W. Till, attorneys for Defendant, Salvatore LaGrasso, and the Court having

considered the papers submitted by counsel and for good cause shown;

          IT IS on this /day of                      ,   2012;

          ORDERED that The Law Offices of Peter W, Till, attorneys for Defendant, Salvatore

LaGrasso, (By Order of the Court pursuant to the Criminal Justice Act), is granted leave to allow

the associates of his firm and law clerks to assist with preparation of the defense in this matter;

and it is

        FURTHER ORDERED that a copy of this Order be served upon all parties within

      3       days from the date hereof.


                                              Honorable Dennis M.
